                       Case 3:20-cr-00273-IM                               Document 6                   Filed 07/27/20                    Page 1 of 4




                                                   LTNITED STATES DISTRICT COURT
                                                    FOR THE DISTRICT OF OREGON

    l;\.]TED STATES OF {€\\f{F.RIC..,'l                                                                                            ORr]ER`sETTi`'GCo`'DITlo`.S
                            \..                                                                                                                                  oF REt.E,+Sr:

    \Jlai.k Rcil}'canor.                                                                                                             Case ``umber: .` :30C`R00273-I\.I-0 I


TT TS ORDERED that lhi` release of the defendant i§ subject to t!`e follo\`'ing co[`.djtic\ns:


(1 )           The dgf.endant sh{111 not commit an} offense in `.iolation offed€ral7 slate or local law \tll`ile on I.elc`as€ in this case.

(2)           The defendant must cooperate in the collection ofa D`'4 sample if the collei`tion is authoi'i7ed b} 12 L'.S.C.`S IJ135a.

(3)           The defendant shall immedjati>]y advise the court through pretrjal ser`ices or defense cQLlns€l in \\/.riting oftin} ¢hangc in
             address and telephone number.

(4)           The defendant shall appear at all I)roceediiigs as required and shall surrender for service of` any. sentence imposed as directed.
             The defi`ndan{ shall next appear as directed by U.S, District Court.

                                                                    Additionnl Conditions of Release

IT IS FURTHER ORDERED that the defendant be released pro\`ided that the defendant:
       •     The defendant shall not enter withiii a fi`r'e-block radius of the l..S. (`ourl!io`ise locatt`d at 1000 S\\' 3rd A\,`e Pi`rtiand. Oregon
             97204, `inless on official co`irt business.
       •     The defendant shall conipl)' with the follouzing I:urfev\.: 8pm to 6a[n.



                                                                    Ad``ic.c of Penalties and Saiiclions

TO TH'E DEFEt{ DA`'T:

             Yol: ARE .\DVTSED OF THE FOLLO\N`-a PE`-ALTIES A\D SANCTlo\S:

           A violation ofa{}} of the foregoing coiiditioq`s of rel€asc ma}` result in the imrt:edi!iti* issuance of a \\ arrant ri`T }.oLir arrest. a re\`ocali{m i)l'
releasee an order Ofdctentic)n. forfeitiire orbond` and a prosecution i`or contempt of couil a!t(i could res`Ilt in a {ei" tit` i[i`prisc)!\ment. a fine. or !``or{i.

             The commission ol.an? crime `\'hiie on pre-trial rel€asc rna.\ result in an additio#al scnT€nce to a lemi o{` !mprisonmei)t \)l`!t{i` n`£orc than ten
}'ears. if the off.cnse is a feloi}.\ : or a term of i"prisonmem o!'flot ii`orc than o!ie } ear. i l`the art.cnsc is a inisde!netln{ir.         This sentenc`e si`all be in ;]tiii!tion
To an`' other s€p.i€ni.e.

             Federal la\\' maL.es it a crime punisl`ahle b.v. iLp to ten }'€8rs o!-jmpr;sonmc?i{. and a S250.000 lliii` or hot!i to int!IiiiuaL¢ t7r attcm:)I tii ij!:iir.:c!aL€
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iii`prisonmcnt. a S250.000 fiile or b{ith. to €i`mper \+.it]l a u iLness, `tictim or informanL or to rer<|`!ia:e agail`st a wimi`:.s. ``?c?im or ini.or!iiaiil. oT to tl`;.cati`!`
or attempt lo dti sQ.

             ]t-artcr rcleas€, }`ou ki`o`\ingl}` fail ta {appear ns reqiiirccl b}' the coiidition`` o!` re!i`asc. oi' to surrender {`or rhc 5cr\ice ot-sgn:ence` }oii in.a.` bii
prosecuted for f`ai]iT:g ro appe:`!. or surrender aiid :tddi{ional puli!sii{neiit nit.\. b.` imposed`           If.}`7u ari` coii\ icted Qf.:


{1)             an o£1`€iis€ ptmishablc b} death. life impr{somien:. or imTtrisumT:cnt t`or a term (tt.I:;`.iL.i:ii.+ ``{!rs oi. iii¢r€..\ ou sr,i`il i)e titii`c! not i`,i`.re t!`azi
             S2SO.000 (tr imprisoncd for no lnoE'e than ten }'¢[trs. or both:


(2)            an o!t`€!ise r}unishablc b}' im.prison!]`enl I.or a term of!l\e.v€ars or morc` but less :}ifil} {i{\|.e?`.\ ciirs. }.cn.I sh3]i <:}e tl"€d not more :hai` S25(;.0{ll-j
             or imprisolied I.or !to mors than {~i\.€ }`ears. (]r both:


(3)           ai`}' ()lher l`e!on}...`'ou sl`all be fined not more thatt s250`000 oI' imprisoried r.iHr,ori` Tl.;ar, t\\.a }'ears. or t;.`(h:


(i)           a misdem.eanor. }.oil sliall L`e rLr`ed !it)I more tha!t s]00.000 i3r imprisoned iiot more tl`iin {}ni. }.car. or both:

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?`+ij !Lir€ :t` appr.ar m3,\' i'i`sult jti :!ie !`cii`:`eit`*rg itr{`n}` 13Ond pc!5:ed.


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Special *'€c.{l§ Finding:
B,`sed upon {hc abovi` conditioi}s` ini`luding the Conditions ri`lating to:
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t`€ :              Defendant
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               Preirial Scr\`ices
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                                            UNITED STATES DISTRICT COURT
                                             FOR THE DISTRICT 0F OREGON

    UNITED STATES OF AMERICA                                                                                   ORDER SETTING CONDITIONS
                        V.                                                                                                   OF RELEASE

    Mark Rolycanov                                                                                              Case Number: 3 :20CR00273-IM-0 I


IT IS ORDERED that the release of the defendant is subject to the following conditions:

(I)        The defendant shall not commit any offense in violation offederal, state or local law while on release in this case.

(2)         The defendant must cooperate in the collection ofa DNA sample if the collection is authorized by 42 U.S.C § 14135a.

(3)        The defendant shall immediately advise the court through pretrial services or defense counsel in writing of any change in
          address and telephone number.

(4)       The defendant shall appear at all proceedings as required and shall sulTender for service of any sentence imposed as directed.
          The defendant shall next appear as directed by U.S. District Court.

                                                          Additional Conditions of Release

IT IS FURTHER ORDERED that the defendant be released provided that the defendant:
    •   The defendant shall not enter within a five-block radius of the u.S. Courthouse located at looo sw 3'd Ave portland, Oregon
        97204, unless on official court business.
    •   The defendant shall comply with the following curfew: 8pm to 6am.



                                                         Advice of Penalties and Sanctions

TO THE DEFENDANT:

          YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

           A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest` a revocation of
release. an order of detention, forfeiture of bond, and a prosecution for contempt of court and could result in a term of imprisonment, a fine. or both.

          The commission of any crime while on pre-trial release may result in an additional sentence to a term of imprisonment of not more than ten
years, if the offense is a felony; or a term of imprisonment of not more than one year. if the offense is a misdemeanor.   This sentence shall be in addition
to any other sentence.

          Federal law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to intimidate or attempt to intimidate
a witness, victim, juror, informant or officer of the court, or to obstruct a criminal investigation. It is also a crime punishable by up to ten years of
imprisonment, a $250,000 fine or both, to tamper with a witness, victim or informant, or to retaliate against a witness, victim or informant, or to threaten
or attempt to do so.

          If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the service of sentence` you may be
prosecuted for failing to appear or surrender and additional punishment may be imposed.       If you are convicted of:

(I)        an offense punishable by death, life imprisonment, or imprisonment for a term offifteen years or more, you shall be fined not more than
          $250,000 or imprisoned for no more than ten years, or both;

(2)        an offense punishable by imprisonment for a term offive years or more. but less than fifteen years, you shall be fined not more than $250.000
          or imprisoned for no more than five years, or both;

(3)        any other felony, you shall be fined not more than $250.000 or imprisoned no more than two years, or both;

(4)        a misdemeanor, you shall be fined not more than sloo,000 or imprisoned not more than one year, or both:

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           A ten of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any other offense.   In addition, a
failure to appear may result in the forfeiture of any bond posted.

                                                           Acknowledgment of Defendant

           I acknowledge that I arm the defendant in this case and that I am aware of the conditions of release. I promise to obey all conditions of
release, to appear as directed, and to surrender for service of any sentence imposed. I am aware of the penalties and sanctions set forth above.




                                                                                                          Signature of Defendant



                                                                                                             City, State & Zip

Special Needs Finding:
Based upon the above conditions, including the conditions relating to:
I       Alcohol detection
I         Drug detection
I         Computer monitoring
The Court is reasonably assured the defendant will appear as directed and not pose a danger to the community or any other person.

      ections to the United States Marshal
           The defendant is ORDERED released after processing.
           The defendant is ORDERED temporarily released.
           The United States Marshal is ORDERED to keep the defendant in custody until notified by the clerk, Pretrial Services or
          judicial officer that the defendant has posted bond and/or complied with all other conditions for release including space
          availability at a community corrections center or residential treatment facility. If still in custody, the defendant shall be
          produced before the duty Magistrate Judge on                                      at




                                                                                                    Signature of Judicial Officer
                                                                                                          John V. Acosta
                                                                                                        U.S. Magistrate Judge

                                                                                                 Name and Title of Judicial Officer




CC:        Defendant
           US Attorney
           US Marshal
           Pretrial Services




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